                        IN THE UNITED STATES BANKRUPTCY COURT

                                 FOR THE DISTRICT OF DELAWARE


In re:                                                    ) Chapter 11
                                                          )
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YUETING JIA,                                              ) Case No.: 19-12220(KBO)
                                                          )
                                   Debtor.                ) Re: Docket No. 16

                                                        Objection Deadline: November 8,2019 at 4:00 p.m.(ET)
                                                           Hearing Date: November 15,2019 at 10:00 a.m.(ET)

  NOTICE OF APPLICATION OF DEBTOR FOR ENTRY OF ORDER APPOINTING
         EPIQ CORPORATE RESTRUCTURING,LLC AS CLAIMS AND NOTICING
                            AGENT EFFECTIVE AS OF PETITION DATE


TO: (a)the Office ofthe U.S. Trustee;(b)the holders of the 20 largest unsecured claims against
     the Debtor; (c)the United States Attorney’s Office for the District of Delaware; (d) the
         Internal Revenue Service; and (e) any party that has requested notice pursuant to
         Bankruptcy Rule 2002.

                 PLEASE TAKE NOTICE that on October 16, 2019,the above-captioned debtor

and debtor in possession (the “Debtor”!, filed the Application ofDebtorfor Entry ofOrder

Appointing Epiq Corporate Restructuring, LLC as Claims and Noticing Agent Effective as of
Petition Date (the “Application”![Docket No. 16] with the United States Bankruptcy Court for
the District of Delaware, 824 Market Street, 3rd Floor, Wilmington, Delaware 19801 (the

“Bankruptcy Court”!. A copy ofthe Application is attached hereto as Exhibit A.

                 PLEASE TAKE FURTHER NOTICE that any response or objection to the

entry ofan order with respect to the relief sought in the Application must be filed with the
Bankruptcy Court on or before November 8,2019 at 4:00 p.m. prevailing Eastern Time.
                 PLEASE TAKE FURTHER NOTICE that at the same time, you must also

serve a    copy ofthe response or objection upon:(a) proposed counsel to the Debtor, Pachulski

  ‘ The last four digits ofthe Debtor’s federal tax identification number is 8972. The Debtor’s mailing address is 91
  Marguerite Drive, Rancho Palos Verdes, CA 90275.



DOCS DE:225979.146353/001
Stang Ziehl & Jones LLP, 919 North Market Street, 17th Floor, P.O. Box 8705, Wilmington,

Delaware 19899-8705 (Courier 19801), Attn: Richard M. Pachulski, Esq.

(rpachulski@pszjlaw.com) and James E. O’Neill (ioneill@pszilaw.com),(b)the United States

Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801, Attn: David L.

Buchbinder fDavid.L.Buchbinder@usdoi.gov).

                 PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE,THE COURT MAY GRANT THE RELIEF

REQUESTED BY THE APPLICATION WITHOUT FURTHER NOTICE OR HEARING.
                 PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER

THE RELIEF SOUGHT IN THE APPLICATION WILL BE HELD ON NOVEMBER 15, 2019

AT 10:00 A.M.PREVAILING EASTERN TIME BEFORE THE HONORABLE KAREN B.




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DOCS DE:225979.1 46353/001
OWENS,UNITED STATES BANKRUPTCY COURT JUDGE, AT THE UNITED STATES

BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE,824 MARKET STREET,

6TH FLOOR,COURTROOM NO. 1, WILMINGTON,DELAWARE 19801.


Dated: October 25, 2019           PACHULSKI STANG ZIEHL & JONES LLP


                                  /s/James E. O’Neill
                                  Richard M. Pachulski(CA Bar No. 90073)
                                  Jeffrey W. Dulberg(CA Bar No. 181200)
                                  Malhar S. Pagay(CA Bar No. 189289)
                                  James E. O’Neill(DE Bar No. 4042)
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                                  Proposed Attorneys for Debtor and Debtor in
                                  Possession




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